                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    )       No. 3:05-CR-36
                                                      )       (VARLAN/GUYTON)
REGINALD L. HALL, ADVANCED                            )
INTEGRATED MANAGEMENT SERVICES,                       )
INC. (“AIMSI”), and DAVID F. REEDER,                  )
                                                      )
               Defendants.                            )


                               MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate.

               Defendants David F. Reeder and Advanced Integrated Management Services, Inc.

(“AIMSI”) move to adopt Defendant Reginald L. Hall’s Post Hearing Brief filed on May 19, 2006.

[Docs. 96, 97]. For good cause shown, the motions to adopt [Docs. 96, 97] filed by Defendants

David F. Reeder and AIMSI are GRANTED.

               IT IS SO ORDERED.

                                              ENTER:


                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




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